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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
JEREMY L. TUTORA,

                         Plaintiff,                      3:19-cv-1221
                                                          (GLS/ML)
                   v.

TRISTON CAMPBELL,

                         Defendant.
APPEARANCES:                                OF COUNSEL:

FOR THE PLAINTIFF:
JEREMY L. TUTORA
Pro Se
163 Schubert Street
Apartment 1L
Binghamton, NY 13905

FOR THE DEFENDANT:
Smith, Sovik, Kendrick & Sugnet, P.C.       STEVEN W. WILLIAMS, ESQ.
250 South Clinton Street
Suite 600
Syracuse, NY 13202-1252

Gary L. Sharpe
Senior District Judge

                                      ORDER

      The above-captioned matter comes to this court following an Order and

Report-Recommendation (R&R) by Magistrate Judge Miroslav Lovric, duly

filed May 18, 2021. (Dkt. No. 69.) Following fourteen days from the service

thereof, the Clerk has sent the file, including any and all objections filed by the

parties herein.
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      No objections having been filed, and the court having reviewed the R&R

for clear error, it is hereby

      ORDERED that the Order and Report-Recommendation (Dkt. No. 69) is

ADOPTED in its entirety; and it is further

      ORDERED that defendant’s motion to dismiss (Dkt. No. 51) is

GRANTED; and it is further

      ORDERED that plaintiff’s complaint (Dkt. No. 1) is DISMISSED in its

entirety pursuant to Fed. R. Civ. P. 37(b) and Fed. R. Civ. P. 41(b) for failure

to prosecute and comply with the court’s orders and Local Rules of Practice;

and it is further

      ORDERED that defendant’s motion for default judgment as to his

counterclaims (Dkt. No. 60) remains pending. Defendant is directed to advise

the court of his position with respect to the motion and his counterclaims in

light of this Order on or before June 15, 2021; and it is further

      ORDERED that the Clerk provide a copy of this Order to the parties

accordance with the Local Rules of Practice.

IT IS SO ORDERED.

June 8, 2021
Albany, New York




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